Case 3:06-cr-30166-DRH       Document 396 Filed 04/04/08        Page 1 of 4    Page ID
                                       #962



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

GUILLERMO ORDUNO,

      Defendant.                                         Case No. 06-cr-30166-DRH

                             MEMORANDUM & ORDER

HERNDON, District Judge:

             Before the Court is defendant Guillermo Orduno’s Motion for Severance

of Defendant for Trial (Doc. 366), to which the Government has filed an opposing

Response (Doc. 375). The Motion states that Orduno was originally only charged

with one count of possession with the intent to distribute cocaine in Count VI, along

with three other individuals. There were also other codefendants charged in the

same Indictment, but not as to Count VI. The three other codefendants charged in

Count VI have already entered a plea of guilty and have been sentenced.

Subsequently, the Government has returned a Third Superseding Indictment in this

matter (Doc. 344), which charges two additional individuals in Count VI, along with

Orduno. Orduno asserts that he has no association with these two new defendants

in Count VI and is also not being charged for being involved in a conspiracy.

Therefore, Orduno asserts that a joint trial with all of the codefendants in this matter

would work to his prejudice by “linking” him to all of the codefendants. Orduno

claims these codefendants are “unrelated” and an unsevered trial could potentially
Case 3:06-cr-30166-DRH      Document 396 Filed 04/04/08        Page 2 of 4   Page ID
                                      #963



convince the jury that he was guilty, not by the evidence of the case, but merely on

a “guilt by association” theory with the other unrelated codefendants.

             The joinder of multiple defendants in an indictment is allowed under

Federal Rule of Criminal Procedure 8(b) when the Government has alleged that the

defendants “have participated in the . . . same series of acts or transactions

constituting an offense or offenses.” United States v. Ras, 713 F.2d 311, 315 (7th

Cir. 1983)(quoting Fed. R. Crim. P. 8(b) and citing United States v. Garza, 664

F.2d 135, 142 (7th Cir. 1981), cert. denied, 455 U.S. 993, 102 S. Ct. 1620

(1982)). In this case, the Government argues that Orduno was originally charged

with possession with intent to distribute cocaine, along with three other

codefendants, one of whom was also charged with conspiracy to distribute cocaine

and marijuana, distribution of marijuana and distribution of cocaine. It feels this

is sufficient to find Orduno was properly joined pursuant to Rule 8(b). As in Ras,

Orduno appears to have been properly joined in a single Indictment with the other

codefendants as “[a]ll counts of the indictment [deal] with acts committed by the

defendants in furtherance of a single, ongoing conspiracy. The charge of conspiracy

in Count 1 serve[s] to link the substantive counts against the various defendants . .

. satisf[ying] the relatedness requirement of Rule 8(b) and justif[ying] joinder.” Id.

             Once it is determined that the defendants have been joined in

accordance with Rule 8, the moving defendant may only be entitled to a severance

pursuant to Rule 14 if proven that joinder will be prejudicial to that defendant, as



                                     Page 2 of 4
Case 3:06-cr-30166-DRH      Document 396 Filed 04/04/08       Page 3 of 4   Page ID
                                      #964



joint trials (when dealing with charges such as conspiracy) are generally favored for

their efficiency. Id. (citing United States v. Tanner, 471 F.2d 128, 137 (7th Cir.

1972)); see also United States v. Williams, 858 F.2d 1218, 1223 (7th Cir.

1988); United States v. Sophie, 900 F.2d 1064, (7th Cir. 1990). In fact, this is

a “heavy burden” for the moving defendant to establish, as it is not enough to merely

show “that a separate trial would result in a better chance of acquittal . . . .”

Williams, 858 F.2d at 1224 (citing United States v. Moschiano, 695 F.2d 236

(7th Cir. 1982)). Instead, the moving defendant must demonstrate that he or she

would be unable to obtain a fair trial without a severance. United States v. Lopez,

6 F.3d 1281, 1285 (7th Cir. 1993).

             Orduno raises two causal grounds he believes supports his request for

severance: the risk of guilt by association and jury confusion. His conclusory

assertions that joinder with his codefendants would be highly prejudicial to him,

without more, are insufficient grounds for the Court to grant a severance. The mere

speculation that the jury will impute guilt upon the defendant because he is tried

jointly with other codefendants does not show prejudice, per se, warranting a

severance. See United States v. Arvanitis, 676 F. Supp. 840, 848 (N.D. Ill.

1987) (citing United States v. Zanin, 831 F.2d 740, 744 (7th Cir. 1987)).

Further, Orduno has not established that there exists such a disparity of evidence

between himself and his codefendants that it would prevent (or confuse) the jury

from sorting the evidence and properly applying it to the appropriate defendant.



                                    Page 3 of 4
Case 3:06-cr-30166-DRH      Document 396 Filed 04/04/08      Page 4 of 4    Page ID
                                      #965



Nonetheless, the law presumes juries capable of “sorting through the evidence and

considering the cause of each defendant separately.” United States v. Williams,

858 F.2d 1218, 1225 (7th Cir. 1988). This presumption is based upon the notion

that any potential jury confusion can be avoided or remedied by giving the

appropriate cautionary or limiting instructions to the jury. Zanin, 831 F.2d at 744

(citing United States v. Kendall, 665 F.2d 126, 137 (7th Cir. 1981), cert.

denied, 455 U.S. 1021 (1982)).

             Therefore, the Motion for Severance (Doc. 366) is hereby DENIED due

to Orduno’s failure to provide any substantive reasoning bolstering his assertions

that a severance is necessary, especially when balanced against the public interest

in having persons jointly indicted tried together. United States v. Papia, 560 F.2d

827, 836-37 (7th Cir. 1977) (citing United States v. Echeles, 352 F.2d 892,

896-97 (7th Cir. 1965) (“Moreover, in considering a motion for severance, the

trial judge should give due deference to the strong public interest in having

persons jointly indicted tried together, particularly where, as here, a conspiracy

is charged and may be proved by evidence that arises out of the same act or

series of acts.”).

             IT IS SO ORDERED.

             Signed this 4th day of April, 2008.

                                             /s/    DavidRHerndon
                                             Chief Judge
                                             United States District Court


                                    Page 4 of 4
